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                                                                   United States Courts
                                                                 Southern District of Texas
                                                                          FILED
                     UNITED STATES DISTRICT COURT                   November 05, 2020
                      SOUTHERN DISTRICT OF TEXAS                               
                                                               David J. Bradley, Clerk of Court
                          HOUSTON DIVISION


UNITED STATES OF AMERICA             '     CRIMINAL NO.:        4:20cr562
                                     '
    v.                               '
                                     '     18 U.S.C. 1349:
                                     '     Conspiracy to Commit Fraud in
DURLAN GARCIA-PUPO,                  '     Connection with Access Devices
LAZARO MARTINEZ-GARCIA,              '     (Count 1)
and JULIO CESAR BLANCO-DIAZ,         '
                                     §     18 U.S.C. 1029(a)(3):
    Defendants.                      '     Fraud in Connection with Access
                                     '     Devices, Possession of 15 or more
                                     §     Unauthorized Access Devices
                                     §     (Counts 2-4)
                                     §
                                     §     18 U.S.C. § 1343:
                                     '     Wire Fraud
                                     §     (Count 5)
                                     '
                                     §     18 U.S.C. § 1028A:
                                     §     Aggravated Identity Theft
                                     §     (Count 6)
                                     §
                                     §     18 U.S.C. § 1029(a)(4):
                                     §     Possession of Device Making
                                     §     Equipment
                                     §     (Count 7)




                              INDICTMENT

THE GRAND JURY CHARGES THAT:
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                                         COUNT ONE
                                 (Conspiracy: 18. U.S.C. § 1349)

                                       A. INTRODUCTION


       1.      From in or about at least September 2018 through in or about November 2019, in

the Houston Division of the Southern District of Texas, and elsewhere,

                                  DURLAN GARCIA-PUPO,
                               LAZARO MARTINEZ-GARCIA,
                              and JULIO CESAR BLANCO-DIAZ

defendants herein, along with other co-conspirators, known and unknown to the Grand Jury, did

knowingly devise and intend to devise a scheme and artifice to defraud and to obtain money and

property by false and fraudulent pretenses, representations and promises, by unlawfully obtaining

the personal banking information of multiple victims and possessing more than 15 unauthorized

access device by installing devices at points of sale to steal credit card and banking information in

the Houston Texas area, all affecting interstate commerce, as more fully set forth below.

       2.      At all times material to this indictment, the term “access device” means any card,

plate, code, account number, electronic serial number, mobile identification number, personal

identification number, or other telecommunications service, equipment, or instrument identifier,

or other means of account access that can be used, alone or in conjunction with another access

device, to obtain money, goods, services, or any other thing of value, or that can be used to

initiate a transfer of funds (other than a transfer originated solely by paper instrument).

       3.      The term “unauthorized access device” means any access device that is lost, stolen,

expired, revoked, canceled, or obtained with intent to defraud.     Further, the term “


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access device” means any access device that is counterfeit, fictitious, altered, or forged, or an

identifiable component of an access device or a counterfeit access device.

        4.     As used in this indictment, the term “skimmer” means a device crafted, legally or

otherwise, to read, decipher, capture, and entrap credit card and other personal or financial

information from legitimate sources to be possessed, transmitted, re-encoded, or otherwise used

illegally.

        5.     An “EEPROM” is an acronym for “electrically erasable programmable read-only

memory” and is a type of non-volatile memory used in computers, integrated into types of

microcontrollers for smart cards and remote keyless systems, and other electronic devices to store

relatively small amounts of data but allowing individual bytes to be erased and reprogrammed.

Generally, and as is applicable in this scheme, the EEPROM is attached to a “BlueTooth”

transmitter to relay stolen data to a secondary source.

        6.     At all times material to this Indictment, DURLAN GARCIA-PUPO, LAZARO

MARTINEZ-GARCIA, and JULIO CESAR BLANCO-DIAZ lived, operated the following

scheme, and committed the following overt acts in the Southern District of Texas, specifically in

and around Houston and Harris County, Texas.

        7.     On or about July 8, 2019, agents with the Texas Department of Public Safety

followed DURLAN GARCIA-PUPO to a truck stop in northern Harris County, Texas where he

was observed making a purchase of fuel with an unauthorized access device, namely a stolen credit

card number, triggering an interstate wire transaction with the victim’s bank in Louisiana.

Further, during this transaction, Defendant DURLAN GARCIA-PUPO- transmitted the personal




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account numbers and personal identifying information of the victim while committing the offense

of wire fraud.

         8.       On or about October 16, 2019, agents with the Texas Department of Public Safety

executed a search warrant on the residence of DURLAN GARCIA-PUPO, located in the Southern

District of Texas. During the execution of the warrant, agents recovered a laptop computer

belonging to DURLAN GARCIA-PUPO that contained over 1500 stolen and unauthorized credit

or debit card numbers, along with multiple items related to making and using credit card skimmers.

         9.       On or about October 16, 2019, concurrent with the search of DURLAN GARCIA-

PUPO’s residence, agents with the Texas Department of Public Safety executed a search warrant

on the residence of LAZARO MARTINEZ-GARCIA, located within the Southern District of

Texas.        During the execution of this warrant, agents found a computer belonging to LAZARO

MARTINEZ-GARCIA that contained over 300 stolen and unauthorized credit or debit card

numbers.        Further, agents recovered three (3) completed “skimmers” that were to be used as

counterfeit access devices.

         10.      On or about November 6, 2019, agents of the Texas Department of Public Safety

executed a search warrant on the residence of JULIO CESAR BLANCO-DIAZ, located within the

Southern District of Texas.       During the execution of this warrant, law enforcement agents

recovered a computer with over 1700 stolen and unauthorized credit or debit card numbers, as well

as 29 re-encoded credit cards containing stolen personal banking information from various victims.

         11.      Subsequent analysis of the computers and electronic devices from Defendants

DURLAN GARCIA-PUPO, LAZARO MARTINEZ-GARCIA, and JULIO CESAR BLANCO-

DIAZ revealed that one hundred (100) of the stolen credit cards appeared on all three of the


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defendants’ computers or electronic devices.     For example, examination of the defendants’

electronic devices revealed that all three contained a stolen and unauthorized credit/debit card

number ending in xxxxx9804.

       12.     Further, analysis showed identifiers unique to specific “flash” or “thumb” drives

appeared on all three computers in conjunction with the downloaded stolen credit card numbers,

indicating a common source between the three defendants.       For example, examination of the

defendants’ electronic devices found that all three defendants had accessed a flash drive with the

unique signifier XXXXX121564.

       13.     Analysis of defendants’ cell phones and other communications devices revealed

multiple instances and forms of contact between DURLAN GARCIA-PUPO, LAZARO

MARTINEZ-GARCIA, and JULIO CESAR BLANCO-DIAZ during the relevant time-period.



                                      B. THE CONSPIRACY

       14.     From at least in or around September 2018 through in or around November 2019,

in the Houston Division of the Southern District of Texas and elsewhere,

                                   DURLAN GARCIA-PUPO,
                               LAZARO MARTINEZ-GARCIA,
                              and JULIO CESAR BLANCO-DIAZ

the defendants, and others known and unknown, did knowingly combine, conspire, confederate,

and agree with others known and unknown, to commit fraud and related activity in connection

with access devices, in violation of Title 18, United States Code, Section 1029(a)(3).

       15.     It was a part and object of the conspiracy that the defendants, along with other co-

conspirators, did knowingly and willfully combine, conspire, confederate and agree with others


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known and unknown to the grand jury, to execute a scheme and artifice to defraud and to obtain

money and property by false and fraudulent pretenses, representations and promises, by

possessing more than 15 unauthorized access devices, all affecting interstate, in violation of Title

18, United States Code, Section 1029(a)(3).



               C.      THE MANNER AND MEANS OF THE CONSPIRACY

       16.     The defendants sought to accomplish the purpose of the conspiracy by, among

other things, the following manner and means:

       a.      In or around at least September 2018 through on or about November 2019,

DURLAN GARCIA-PUPO, LAZARO GARCIA-MARTINEZ, and JULIO CESAR BLANCO-

DIAZ began or continued utilizing credit card “skimmers” unlawfully installed on gas and fuel

pumps to illegally obtain credit card information from motorists and truckers in and around

northern Harris County and surrounding counties within the Southern District of Texas.

       b.      Once they had obtained the personal banking information of their victims,

Defendants DURLAN PUPO-GARCIA, LAZARO GARCI-MARTINEZ, and JULIO CESAR

BLANCO-DIAZ transferred the stolen credit card information to blank credit cards or gift cards

via electronic re-encoders, so that they might be used to purchase goods or services as if they

were obtained legitimately.

       c.       Defendants DURLAN PUPO-GARCIA, LAZARO GARCI-MARTINEZ, and

JULIO CESAR BLANCO-DIAZ also bought, traded, and sold stolen credit card numbers

amongst themselves and from others, some known and some unknown to the Grand Jury.

Defendants DURLAN GARCIA-PUPO, LAZARO GARCIA-MARTINEZ, and JULIO CESAR


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BLANCO-DIAZ generally transferred large volumes of stolen credit card information between

themselves or others via the use of “flash” or “thumb” drives, which were then transferred onto

personal computers and other electronic devices.

       In violation of Title 18, United States Code, Section 1349.


                                         COUNT TWO
                  Possession of Counterfeit and Unauthorized Access Devices
                                   (18 U.S.C. § 1029(a)(3))

       17.     The Grand Jury re-alleges and incorporates by reference the allegations in

paragraphs 1-16, as if fully set forth herein.

       18.     On or about October 16, 2019, in the Houston Division of the Southern District of

Texas, the defendant

                                    DURLAN GARCIA-PUPO,

did knowingly and with the intent to defraud, possess fifteen (15) or more counterfeit and

unauthorized access devices, affecting interstate and foreign commerce.

       In violation of 18 United States Code, Sections 1029(a)(3) and 2.


                                       COUNT THREE
                  Possession of Counterfeit and Unauthorized Access Devices
                                   (18 U.S.C. § 1029(a)(3))

       19.     The Grand Jury re-alleges and incorporates by reference the allegations in

paragraphs 1-16, as if fully set forth herein.

       20.     On or about October 16, 2019, in the Houston Division of the Southern District of

Texas, the defendant

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                                    LAZARO MARTINEZ-GARCIA,

did knowingly and with the intent to defraud, possess fifteen (15) or more counterfeit and

unauthorized access devices, affecting interstate and foreign commerce.

       In violation of 18 United States Code, Sections 1029(a)(3) and 2.


                                        COUNT FOUR
                  Possession of Counterfeit and Unauthorized Access Devices
                                   (18 U.S.C. §1029(a)(3))

       21.     The Grand Jury re-alleges and incorporates by reference the allegations in

paragraphs 1-16, as if fully set forth herein.

       22.     On or about November 6, 2019, in the Houston Division of the Southern District of

Texas, the defendant

                                     JULIO CESAR BLANCO-DIAZ,

did knowingly and with the intent to defraud, possess fifteen (15) or more counterfeit and

unauthorized access devices, affecting interstate and foreign commerce.

       In violation of 18 United States Code, Sections 1029(a)(3) and 2.



                                         COUNT FIVE
                                             Wire Fraud
                                          (18 U.S.C. § 1343)

       23.     The Grand Jury re-alleges and incorporates by reference the allegations in

paragraphs 1-16, as if fully set forth herein.




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       24.     On or about July 8, 2019, in the Southern District of Texas and elsewhere, the

defendant,

                                    DURLAN GARCIA-PUPO,

did knowingly devise and intend to devise a scheme and artifice to defraud J.M., by means of

materially false and fraudulent pretenses and representations, namely by causing Transnet, Inc, a

credit card transaction procession company to complete a transfer of J.M.’s funds initiated by

DURLAN GARCIA-PUPO, on or about July 8, 2019, by causing these funds to be transmitted

via MasterCard debit card number XXXXXXX7485 by way of wire communications from the

merchant in the Southern District of Texas to processing computer terminals in Norcross,

Georgia, then to Pedestal Bank computers servers in Monroe, Louisiana, and back to the Southern

District of Texas, in interstate commerce in furtherance of executing the scheme.

       All in violation of Title 18, United States Code, Section 1343.



                                          COUNT SIX

                                     Aggravated Identity Theft
                                       (18 U.S.C. § 1028A)

       26.     The Grand Jury re-alleges and incorporates by reference the allegations in

paragraphs 1-16, as if fully set forth herein.

       27.     On or about July 8, 2019, in the Houston Division of the Southern District of Texas

and elsewhere within the jurisdiction of the Court, the defendant,

                                    DURLAN GARCIA-PUPO




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during and in relation to a felony violation of Title 18, United States Code, Section 1343, Wire

Fraud, did knowingly transfer, possess, and use, without lawful authority, a means of identification

of another person, to wit: the name and debit card financial information of J.M..

        All in violation of Title 18, United States Code, Section 1028A.


                                           COUNT SEVEN
                                 Possession of Device Making Equipment
                                          (18 U.S.C. §1029(a)(4))

       28.     The Grand Jury re-alleges and incorporates by reference the allegations in

paragraphs 1-16, as if fully set forth herein.

       29.     On or about October 16, 2019, in the Houston Division of the Southern District of

Texas, the defendant

                                    LAZARO MARTINEZ-GARCIA,

did knowingly and with the intent to defraud, produce, traffic in, have custody and control of, and

possess, access device making equipment, namely, a “skimmer” equipped with a ST 25P16V

“EEPROM,” affecting interstate and foreign commerce.

       In violation of 18 United States Code, Sections 1029(a)(4) and 2.



                            NOTICE OF CRIMINAL FORFEITURE

                         (18 U.S.C. § 982(a)(7); 18 U.S.C. § 981(a)(1)(C))

       Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

Code, Section 2461(c), the United States gives notice that upon Defendant’s conviction of any wire

fraud or possession of unauthorized access devices offenses charged in this Indictment, the United


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States intends to seek forfeiture of all property, real or personal, which constitutes or is derived

from proceeds traceable to such offenses.




                     MONEY JUDGMENT AND SUBSTITUTE ASSETS

       The United States gives notice that it will seek a money judgment against the Defendant.

In the event that one or more conditions listed in Title 21, United States Code, Section 853(p) exist,

the United States will seek to forfeit any other property of the Defendant up to the amount of the

money judgment.

                                                      A TRUE BILL

                                                           Original Signature on File
                                                      _________________________________
                                                      FOREPERSON OF THE GRAND JURY


RYAN K. PATRICK
United States Attorney
Southern
      rn District of Texas

By:    __________________________
       ______________________
       THOMAS H. CARTER
       Assistant United States Attorney
       Southern District of Texas




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